Case 2:04-cv-03010-SHI\/|-dkv Document 30 Filed 07/18/05 Page 1 of -2 Page|D 32

IN THE UNITED STATES DISTRICT COURT ` By_%-m
FOR THE WESTERN DISTRICT OF‘ 'I‘ENNESSEE

 

wEsTERN DIVISION 05 JUL l8 §HI|¥|¢|
HoME BUYERS wARRANTY INSURANCE U.EN<,US{BTR!CTO(XBT
sERvIcES, LLc, ET AL., W@@*l"~».lfii?~€??i$
Plaintiffs,
v. No. 04-3010-MaA

CH.ARLES PARK, ET AL. ,

Defendants.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is plaintiffs' June 3, 2005, motion to file
a reply brief in further support of their petition seeking
enforcement of the parties' arbitration agreement. For good
cause shown, the motion is granted and plaintiffs may file their
reply brief.

It is so ORDERED this !S?i`day of July, 2005.

y///M/z\

SAMUEL H. MAYS, JR.
UNI'I'ED STA'I'ES DIS'I'RIC'I‘ JUDGE

 

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with Rule ab and/or ?'S(a) FHCP on_. lLM" 30

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
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ESSEE

 

T. Tarry Beasley

LAW OFFICES OF T. TARRY BEASLEY, ll
1850 Poplar Crest Cove

Ste. 200

Memphis7 TN 38187

Julie B. Peak

ORTALE KELLEY HERBERT & CRAWFORD
200 Fourth Avenue North

Third Floor Noel Place

Nashville, TN 372 l 9--898

Thomas C. Corts

ORTALE KELLEY HERBERT & CRAWFORD
200 N. 4th Avenue

3rd Floor

Nashville, TN 372 l 9--098

Honorable Samuel Mays
US DISTRICT COURT

